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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


                                                      HON. PATRICK J. DUGGAN
                                                      CIVIL NO. 09-20353-3
UNITED STATES OF AMERICA,

       Plaintiff,

-v-

DEMEKCO MOTTON, ET.AL,

       Defendants,
                                     /


             ORDER GRANTING EXTENSION OF TIME TO FILE MOTIONS


       Defendant Motton having filed a Motion for Extension of Motion Deadline Date; now

therefore,

       IT IS HEREBY ORDERED that the Defendant’s Motion for Extension of Motion

Deadline Date is granted. Defendant shall file any motions by November 18, 2009.


                           S/Patrick J. Duggan
                           Patrick J. Duggan
                           United States District Judge

Dated: November 4, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of record
on November 4, 2009, by electronic and/or ordinary mail.

                           S/Marilyn Orem
                           Case Manager
